 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Black LG smart phone with serial number 35349507707741

Case No. Lb IY |0 5

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APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that I have reason to believe that on the following person or property:

See Attachment A

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B

The basis for the search under Fed. R. Crim P. 41(c) is:
m@ evidence of a crime;
mi contraband, fruits of crime, or other items illegally possessed;
ml property designed for use, intended for use, or used in committing a crime;
L] a person to be arrested or a person who is unlawfully restrained.

The search is related to violations of: 18 U.S.C. § 844); 18 U.S.C. § 922(g)(1); and 26 U.S.C. §§ 5861(d), (ec) & H

The application is based on these facts: See attached affidavit.

[] Delayed notice of days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet,

@

Applicant ’s signature

 

Special Agent Anthony Randazzo, ATF
Printed Namg and Title

Sworn to before me and signed in my presence:

pw: ek. %, Lolita hs

City and State: Milwaukee, Wisconsin Honorable David E. Jones U.S. Magistrate Judge
Case 2:16-mj-00105-NJ Filed 10/11/16 Pagéest¥eee -wé@ament 1

 

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AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT UNDER RULE 41

I, United States Bureau of Alcohol, Tobacco, and Firearm (ATF) Task Force Officer

Anthony Randazzo, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND BACKGROUND |

1. I make this affidavit in support of an application under Rule 41 of the Federal Rules
of Criminal Procedure for a search warrant authorizing the examination of property, a cellphone,
which is currently in law enforcement possession and is described in Attachment A, and the
extraction from that property of electronically stored information described in Attachment B.

2. I am a Milwaukee Police Officer assigned to work with the United ‘States
Department of Justice, Bureau of Alcohol, Tobacco, Firearms, and Explosive (ATF), as a federally
deputized Task Force Officer. I have been employed as a full time law enforcement officer for
over 24 years. I have received training in the investigation of arson and explosives. I have
participated in numerous investigations of fires and explosives. I have participated in numerous
search warrants to include execution of search warrants for electronic media. My duties include
investigating violations of federal firearms, arson and explosive laws. I have received training on
securing digital media for forensic examination. |

3. This affidavit is made in support of an application for a warrant to search a
cellphone for evidence of violations of Title 18, United States Code, Sections 18 U.S.C. § 844@)
(malicious use of fire); 18 US.C. § 922(g)(1) (felon in possession of a firearm); and 26 U.S.C. §§
5861(d), (ec) & (f), (possess, transfer or making a firearm not registered in the National Firearms

Registration and Transfer Record). There is probable cause to seize the evidence, instrumentalities,

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 2 of18 Document 1

 

 

 
 

 

contraband, or fruits of these crimes described in Attachment B from the cellphone described in
Attachment A.

4, _ Under 26 U.S.C. § 5845(a) and (f), the definition of “firearm” includes, a
“destructive device”, which includes: “(1) any explosive, incendiary, or poison gas (A) bomb, (B)
grenade, (C) rocket having a propellant charge of more than four ounces, (D) missile having an
explosive or incendiary charge of more than one-quarter ounce, (E) mine, or (F) similar device;...
and (3) any combination of parts either designed or intended for use in converting any device into
a destructive device as defined in subparagraphs (1) and (2) and from which a destructive device
may be readily assembled.”

5. The definition of “make” under 26 U.S.C. § 5845(4) includes “manufacturing (other
than by one qualified to engage in such business in this chapter), putting together, altering, any
combination of these, or otherwise producing a firearm.”

6. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other investigators and witnesses. This affidavit is
intended to show merely that there is sufficient probable cause for the requested warrant and does
not set forth all of my knowledge about this matter.

IDENTIFICATION OF THE DEVICE TO BE EXAMINED
7. The property to be searched is a Black LG smart phone with serial number

35349507707741, and the cellphone has a black case on it. The cellphone is currently located at

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 3 of 18 Document 1

 
 

the ATF-Milwaukee office, Water St., Milwaukee, in secure evidence holding. It was inventoried
in case number 778020-16-0067 as item 50.

8. The applied-for warrant would authorize the forensic examination of the cellphone

for the purpose of identifying electronically stored data particularly described in Attachment B.
PROBABLE CAUSE |
Events of August 13 and 14, 2016

9. On August 13 and 14, 2016, the city of Milwaukee experienced civil unrest in the
areas of: (1) N. Sherman Blvd. and W. Burleigh St.; and (2) N. 35 St. and W. Burleigh St. The civil
unrest was in response to a police officer involved shooting that occurred at the intersection of N.
44 St. and W. Auer Ave., Milwaukee, on August 13, 2016.

10. In the course of the civil unrest on August 13 and 14, 2016, suspects set fires that
caused damage at the following seven businesses, which were, at the time, engaged in activities
affecting interstate commerce: (1) BP Gas Station, 3114 N. Sherman Blvd., Milwaukee;
(2) O’Reilly Auto Parts, 3405 W. Fond Du Lac Ave., Milwaukee; (3) Jet Beauty, 3501 W. Burleigh
St., Milwaukee; (4) BMO Harris Bank, 3536 W. Fond Du Lac Ave., Milwaukee; (5) PJ’s Market,
3079 N. 21* St., Milwaukee; (6) MIM Liquor, 2229 W. Fond Du Lac Ave.; Milwaukee; and
(7) Big Jim’s Liquor, 2161 W. Hopkins Ave., Milwaukee.

11. The investigation into these seven commercial fires revealed that the fires were
intentionally set. Investigators also learned that Molotov cocktails were used to start some of the

fires. A Molotov cocktail is described as a glass container with a wick that holds a flammable

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 4of18 Document 1

 

 

 
 

| liquid, usually gasoline. The wick is then lit and the bottle is thrown causing an explosion upon
impact.
Charles N. Edwards Molotov Cocktail Investigation

12. On August 23, 2016, ATF was contacted regarding suspected Improvised
Incendiary Devices (IID) located within a dumpster at 3284 N. Sherman Blvd., Milwaukee. ATF
Special Agents traveled to the above location and discovered a brown cardboard box holding
multiple glass bottles containing a liquid with cloth rags inserted into the openings. The responding
agents smelled a strong odor of a petroleum distillate emanating from the dumpster, which is
consistent with the presence of gasoline. From training and experience, the agents identified these
devices as “Molotov cocktails”. Some of the glass bottles holding the liquid and cloth wicks were
labeled as Mike’s Hard Lemonade, Everfresh Juice, Mystic, and Seagram’s Wine Coolers.

13. On August 29, 2016, law enforcement conducted a search warrant at the residence
of Van L. Mayes, which was located at 2746A N. 49™ Street, Milwaukee. Law enforcement agents
observed a full bottle of a Seagram’s Wine Cooler and one empty bottle of Everfresh Juice. These
bottles were consistent with the types of bottles used in the construction of the Molotov cocktails
recovered by law enforcement on August 23, 2016, from the dumpster located at 3284 N. Sherman »
Blvd., Milwaukee. During the search warrant, Mayes told law enforcement agents that he
transported two gasoline cans and Seagram’s Wine Cooler bottles to a man named “Charles” who
uses a Wheelchair and resides around Sherman Blvd., Milwaukee. Mayes further stated that he left

the two cans of gasoline at Charles’ residence.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 5of18 Document 1

 
 

14. Affiant verified that Charles N. Edward currently uses a wheelchair and resides at
3284 N. Sherman Blvd. Apt.#2, Milwaukee.

15. On August 30, 2016, Milwaukee County Judge Timothy Witkowiak signed a search
warrant for Charles N. Edwards’ residence located at 3284 N. Sherman Boulevard Apartment #2,
Milwaukee, to search for evidence of narcotics and guns.

16. During. the search of Charles N. Edwards’ residence on August 30, 2016, law
enforcement agents located two empty gas cans inside of a bedroom; a gas can nozzle within the
apartment’s yard; and bottle caps in the yard that were consistent with the types of bottles used to
construct the Molotov cocktails that were recovered on August 23, 2016.

17. An inquiry into the National Firearm Registration and Transfer Record revealed
that Charles N. Edwards was not of record.

18. An inquiry into the criminal history of Charles N. Edwards shows in 1998 he was
convicted of a felony burglary, and the conviction is unreversed.

BP. Gas Station Arson Investigation

19. Information was developed through the course of the investigation that led to the
arrest of a juvenile, A.T. On September 14, 2016, A.T. stated to the affiant that he was at the BP
Gas Station, located at 3114 N. Sherman Blvd., Milwaukee, on the evening of August 13, 2016.
A.T. explained that he threw a Molotov cocktail onto a car, which was parked in the BP Gas Station
parking lot. A.T. stated that this action caused the car to start on fire. A.T. described the Molotov

cocktail as a “bottle with fire in them”. A.T. further stated that he was given the Molotov cocktail

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 6of18 Document 1

 
 

 

. by another juvenile, R.M. A.T. stated that on August 13, 2016, R.M. threw a Molotov cocktail into
the rear door of the BP Gas Station which ignited the storage room. A.T. stated that R.M. got
several Molotov cocktails from Charles Edwards, B/M, 09-28-1964, a man who is in a wheelchair
A.T. identified Edwards through a phot. A.T. stated that R.M. told him that Edwards had numerous
Molotov cocktails in a bag that was on his wheelchair.

20. On September 21, 2016, R.M. met with the affiant. R.M. stated that he was at the
BP Gas Station on August 13, 2016 for a short time. R.M. stated that he saw A.T. at the BP Gas
Station as well. R.M. stated that his cellphone number was 414-745-1232.

21.  Affiant also spoke to R.M.’s mother, Trina Oden, who stated that her cellphone
number was 414-745-1232 and that R.M.’s cellphone number was 414-982-0178. Oden further
stated that she was at the BP Gas Station while it was being looted and burned. Oden stated she
saw R.M. at the BP Gas Station, but they were not together the whole time. R.M. was arrested for
. arson.

22. At the time of his arrest, R.M. was in possession of a cellphone, which was retained
as evidence and placed on inventory at the ATF-Milwaukee office located on N. Water St.,
Milwaukee, WI. It was inventoried in case number 778020-16-0067 as item 50. The cellphone is
a black LG smart phone with serial number 35349507707741. The cellphone has a black case on
it.

23. Affiant knows that subjects use cellular phones to record events through the use of

video recording and photographs. Your affiant knows that subjects who engage in criminal

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 7 of 18 Document 1

 
 

activities use their cell phones to text and speak to others who were engaged in criminal activity
with them. Your affiant knows that cellular companies keep records of which towers cellular
phones were using at specific times. |

24. Your affiant used FoneFinder.Net to determine the service provider of the number
414-745-1232 and 414-982-0178. It was determined that both numbers are serviced by Sprint
Spectrum. Your affiant also determined that neither number has been ported and remain in the
control of Sprint Spectrum.

25. Based on the information by law enforcement, affiant believes that on R.M.’s
cellphone there is evidence of the violations of 18 U.S.C. § 844(i) (malicious use of fire); 18 U.S.C.
§ 922(g)(1) (felon in possession ofa firearm); and 26 U.S.C. §§ 5861(d), (e) & (f), (possess,
transfer or making a firearm not registered in the National Firearms Registration and Transfer
Record).

26. The cellphone is currently in the lawful possession of the ATF. It came into the
ATF’s possession when it was seized incident to arrest. Therefore, while the ATF might already
have all necessary authority to examine the cellphone, I seek this additional warrant out of an
abundance of caution to be certain that an examination of the cellphone will comply with the
Fourth Amendment and other applicable laws.

27. The cellphone is currently in storage at the ATF-Milwaukee office located at N.
Water St, Milwaukee, WI. In my training and experience, I know that the cellphone has been

stored in a manner in which its contents are, to the extent material to this investigation, in

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 8 of 18 Document 1

 
substantially the same state as they were when the cellphone first came into the possession of the
ATF.
TECHNICAL TERMS
28. Based on my training and experience, I use the following technical terms to convey
the following meanings:

a. Wireless telephone: A _ wireless telephone (or mobile telephone, or cellular
telephone) is a handheld wireless device used for voice and data communication
through radio signals. These telephones send signals through networks of
transmitter/receivers, enabling communication with other wireless telephones or
traditional “land line” telephones. A wireless telephone usually contains a “call
log,” which records the telephone number, date, and time of calls made to and from
the phone. In addition to enabling voice communications, wireless telephones offer
a broad range of capabilities. These capabilities include: storing names and phone
numbers in electronic “address books;” sending, receiving, and storing text
messages and e-mail; taking, sending, receiving, and storing still photographs and
moving video; storing and playing back audio files; storing dates, appointments,
and other information on personal calendars; and accessing and downloading
information from the Internet. Wireless telephones may also include global

positioning system (“GPS”) technology for determining the location of the device.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 9of18 Document 1

 

 
 

 

b. Digital camera: A digital camera is a camera that records pictures as digital picture
files, rather than by using photographic film. Digital cameras use a variety of fixed
and removable storage media to store their recorded images. Images can usually
be retrieved by connecting the camera to a computer or by connecting the
removable storage medium to a separate reader. Removable storage media include
various types of flash memory cards or miniature hard drives. Most digital cameras
also include a screen for viewing the stored images. This storage media can contain

any digital data, including data unrelated to photographs or videos.

c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a
handheld digital storage device designed primarily to store and play audio, video,
or photographic files. However, a portable media player can also store other digital —
data. Some portable media players can use removable storage media. Removable
storage media include various types of flash memory cards or miniature hard drives.
This removable storage media can also store any digital data. Depending on the
model, a portable media player may have the ability to store very large amounts of
electronic data and may offer additional features such as a calendar, contact list,
clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to display its
current location. It often contains records the locations where it has been. Some

GPS navigation devices can give a user driving or walking directions to another

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 10 of 18. Document 1

 
 

 

location. These devices can contain records of the addresses or locations involved
in such navigation. The Global Positioning System (generally abbreviated “GPS”)
consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite contains an
extremely ‘accurate clock. Each satellite repeatedly transmits by radio a
mathematical representation of the current time, combined with a special sequence
of numbers. These signals are sent by radio, using specifications that are publicly.
available. A GPS antenna on Earth can receive those signals. When a GPS antenna
receives signals from at least four satellites, a computer connected to that antenna
can mathematically calculate the antenna’s latitude, longitude, and sometimes
altitude with a high level of precision.

e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used for
storing data (such as names, addresses, appointments or notes) and utilizing
computer programs. Some PDAs also function as wireless communication devices
and are used to access the Internet and send and receive e-mail. PDAs usually
include a memory card or other removable storage media for storing data and a
keyboard and/or touch screen for entering data. Removable storage media include
various types of flash memory cards or miniature hard drives. This removable
storage media can store any digital data. Most PDAs run computer software, giving
them many of the same capabilities as personal computers. For example, PDA

users can work with word-processing documents, spreadsheets, and presentations.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 11 0f 18 Document 1

 
 

PDAs may also include global positioning system (“GPS”) technology for
determining the location of the device.

f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller
than a notebook, that is primarily operated by touching the screen. Tablets function
as wireless communication devices and can be used to access the Internet through
cellular networks, 802.11 “wi-fi” networks, or otherwise. Tablets typically contain
programs called apps, which, like programs on a personal computer, perform
different functions and save data associated with those functions. Apps can, for
example, permit accessing the Web, sending and receiving e-mail, and participating
in Internet social networks. |

g. Pager: A pager is a handheld wireless electronic device used to contact an
individual through an alert, or a numeric or text message sent over a
telecommunications network. Some pagers enable the user to send, as well as
receive, text messages.

h. IP Address: An Internet Protocol address (or simply “IP address”) is a unique
numeric address used by computers on the Internet. An IP address is a series of
four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).
Every computer attached to the Internet computer must be assigned an IP address
so that Internet traffic sent from and directed to that computer may be directed

properly from its source to its destination. Most Internet service providers control

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 12 o0f18 Document 1 |

 
 

a range of IP addresses. Some computers have static—that is, long-term—IP
addresses, while other computers have dynamic—that is, frequently changed—IP
addresses.

i. Internet: The Internet is a global network of computers and other electronic devices
that communicate with each other. Due to the structure of the Internet, connections
between devices on the Internet often cross state and international borders, even
when the devices communicating with each other are in the same state.

29. Based on my training and experience, examining data stored on devices of this type
can uncover, among other things, evidence that reveals or suggests who possessed or used the
device.

ELECTRONIC STORAGE AND FORENSIC ANALYSIS

30. Based on my knowledge, training, and experience, I know that electronic devices
can store information for long periods of time. Similarly, things that have been viewed via the
Internet are typically stored for some period of time on the device. This information can sometimes
be recovered with forensics tools.

31. Forensic evidence. As further described in Attachment B, this application seeks
permission to locate not only electronically stored information that might serve as direct evidence
of the crimes described on the warrant, but also forensic evidence that establishes how the
cellphone was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the cellphone because:

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 13 of 18 Document 1

 
 

 

a. Data on the storage medium can provide evidence of a file that was once on the
storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file).

b. Forensic evidence on a device can also indicate who has used or controlled the
device. This “user attribution” evidence is analogous to the search for “indicia of
occupancy” while executing a search watrant at a residence.

c. A person with appropriate familiarity with how an electronic device works may,
after examining this forensic evidence in its proper context, be able to draw
conclusions about how electronic devices were used, the-purpose of their use, who
used them, and when.

d. The process of identifying the exact electronically stored information on a storage
medium that are necessary to draw an accurate conclusion is a dynamic process.
Electronic evidence is not always data that can be merely reviewed by a review
team and passed along to investigators. Whether data stored on a computer is
evidence may depend on other information stored on the computer and the
application of knowledge about how a computer behaves. Therefore, contextual

information necessary to understand other evidence also falls within the scope of

 

the warrant.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 14 of 18 Document 1
 

e. Further, in finding evidence of how a device was used, the purpose of its use, who
used it, and when, sometimes it is necessary to establish that a particular thing is
not present on a storage medium.

32. ~~ Nature of examination. Based on the foregoing, and consistent with Rule.
41(e)(2)(B), the warrant I am applying for would permit the examination of the device consistent
with the warrant. The examination may require authorities to employ techniques, including but
not limited to computer-assisted scans of the entire medium, that might expose many parts of the
device to human inspection in order to determine whether it is evidence described by the warrant.

33. | Manner of execution. Because this warrant seeks only permission to examine a
device already in law enforcement’s possession, the execution of this warrant does not involve the
physical intrusion onto a premises. Consequently, T submit there is reasonable cause for the Court
to authorize execution of the warrant at any time in the day or night.

CONCLUSION

34. I submit that this affidavit supports probable cause for a warrant authorizing the

examination of the cellphone described in Attachment A to seek the items described in Attachment

B.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 15 of 18 Document 1

 
 

 

ATTACHMENT A.

Property to be searched:

Black LG smart phone with serial number 35349507707741. The cellphone has a black case on it.

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Case 2:16-mj-00105-NJ Filed 10/11/16 Page 16 of 18 Document 1

 
 

 

ATTACHMENT B
Particular Things to be Seized: |

a.- All records on the device described in Attachment A that relate to violations of 18
U.S.C. § 8444) (malicious use of fire); 18 U.S.C. § 922(e)(1) (felon in possession of a firearm);
and 26 U.S.C. §§ 5861(d), (e) & (f), (possess, transfer or making a firearm not registered in the
National Firearms Registration and Transfer Record).

b. Items such as, but not limited to, call logs, phonebooks, saved usernames and.
passwords, text messages, emails, videos, documents, and Internet browsing history. This includes
. deleted, edited and current forms of these items.

c. _—- Evidence of user attribution showing who used or owned the devices at the time the
‘things described in this warrant were created, edited, or deleted, such as call logs, phonebooks,

} }
saved usernames and passwords, text messages, emails, videos, documents, and Internet browsing

history.
d. Device information.
eC. GPS coordinates or device location.

f. Records of Internet Protocol addresses used.

g. Records of Internet activity, including firewall logs, caches, browser history and
cookies, “bookmarked” or “favorite” web pages, search terms that the user entered
into any Internet search engine, and records of user-typed web addresses.

h. Any external memory device such as, but not limited to, SIM cards.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 17 of 18 Document 1

 
 

 

As used above, the terms “records” and “information” include all of the foregoing items of
evidence in whatever form and by whatever means they may have been created or stored, including

any form of electronic storage and any photographic form.

Case 2:16-mj-00105-NJ Filed 10/11/16 Page 18 of 18 Document 1

 
